                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

                                                    )   CRIMINAL. NO. -9:23-cr-00394-RMG
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                                                    )
 UNITED STATES OF AMERICA                           )
                                                    )           18 U.S.C. § 2
                                                    )           18 U.S.C. § 371
                 vs.                                )           18 U.S.C. § 981(a)(l)(C)
                                                    )           18 U.S.C. § 982(a)(2)
                                                    )           28 U.S.C. § 2461(c)
 CORY HOWERTON FLEMING                              )
                                                    )              INFORMATION
                                                    )
                                                    )

THE UNITED STATES ATTORNEY CHARGES:

       At all times relevant to this Information:

       1.      Richard Alexander Murdaugh 1 was a personal injury attorney with the "Law Firm,"

located in Hampton, South Carolina. As a personal injury attorney, Richard Alexander Murdaugh

represented individuals in civil claims following injury, death, and other loss.

       2.      The Defendant, CORY HOWERTON FLEMING, is a former personal injury and

criminal defense attorney who worked with his law firm in Beaufort, South Carolina (hereinafter

"Beaufort Law Firm"). The Defendant, CORY HOWERTON FLEMING and Richard Alexander

Murdaugh were close friends.

       3.      Forge Consulting, LLC, is a company which specializes in brokering structured

insurance settlements. As a personal injury attorney, Richard Alexander Murdaugh was familiar

with Forge Consulting, LLC, and he utilized their services to manage his clients' structured




       Richard Alexander Murdaugh has been charged for his role in the scheme in a separate
Indictment.
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settlements.

        4.      Bank of America is a financial institution, as defined by Title 18, United States

Code, Section 20, with deposits insured by the Federal Deposit Insurance Corporation ("FDIC").

        5.      On September 22, 2015, Richard Alexander Murdaugh opened a bank account at

Bank of America titled "Forge," but the bank account had no legitimate affiliation with Forge

Consulting, LLC. Richard Alexander Murdaugh was the only authorized signer on the "fake

Forge" account and was listed as the owner of the account on the signature card. Richard Alexander

Murdaugh opened the "fake Forge" account as part of a scheme to defraud his clients and his Law

Firm by transferring settlement checks directly into the "fake Forge" account, making it appear

that the funds were being transferred into legitimate accounts run by Forge Consulting, LLC, as

part of a structured settlement.

       6.      Beginning in May 2017 and continuing until July 2018, Richard Alexander

Murdaugh used the "fake Forge" account to steal thousands of dollars in settlement funds from his

personal injury clients. The first "fake Forge" account was force closed in July 2018 after being

overdrawn. After the first "fake Forge" account was force closed, Richard Alexander Murdaugh

opened a second "fake Forge" account with Bank of America in August 2018. Richard Alexander

Murdaugh was the only authorized signer on the account and was listed as the owner on the

signature card. Richard Alexander Murdaugh continued to use the "fake Forge" account to steal

millions of dollars from his personal injury clients and others.

       7.      The Defendant CORY HOWERTON FLEMING had no knowledge of the "fake

Forge" accounts or Richard Alexander Murdaugh' s scheme to steal his clients' money through the

accounts.




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                           The Scheme to Defraud the Estate of G.S.

       8.      On February 26, 2018, Richard Alexander Murdaugh's housekeeper, G.S., a person

known to the United States Attorney, died following what was reported as a slip and fall down the

stairs of a home owned by Richard Alexander Murdaugh, caused by his dogs. Richard Alexander

Murdaugh recommended that G.S.'s sons, T.S. and B.H., persons lmown to the United States

Attorney (hereinafter "the Estate of G.S."), hire CORY HOWERTON FLEMING to represent

them and submit a claim against Richard Alexander Murdaugh to collect from his homeowner's

insurance policy.

       9.      Lloyd's of London ("Lloyd's") and Nautilus Insurance Group ("Nautilus") are both

companies that offer property and casualty insurance. Richard Alexander Murdaugh had insurance

coverage on his homeowner's policies from Lloyd's and Nautilus.

       10.    Based on Richard Alexander Murdaugh's recommendation and at his direction, the

Estate of G.S. retained CORY HOWERTON FLEMING to file a claim against Richard Alexander

Murdaugh's homeowner's policies.

       11.     From in or around March 2018 through a date unknown to the United States

Attorney, but up to at least October 2020, in the District of South Carolina, Richard Alexander

Murdaugh, and the Defendant CORY HOWERTON FLEMING, and others known and unknown

to the United States Attorney, knowingly and intentionally combined, conspired, confederated,

agreed and had a tacit understanding with others, both known and unknown, and engaged in a

scheme, plan, and artifice to defraud the Estate of G.S., and to obtain money and property from

the Estate of G.S., by means of materially false and fraudulent pretenses, representations, and

promises, by making false and misleading statements, and omitting facts necessary to make the

statements truthful and not misleading. During such period, in the course of executing the scheme



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and artifice to defraud and to obtain money and property, Richard Alexander Murdaugh, the

Defendant CORY HOWERTON FLEMING, and others known and unknown to the United States

Attorney did transmit and cause to be transmitted in interstate commerce, wire communications,

including writings, signs, signals, pictures, and sounds, for the purpose of executing the scheme

and artifice to defraud, in violation of Title 18, United States Code, Section 1343.

       12.     As part of the scheme, in November 2018, Richard Alexander Murdaugh requested

that a Vice President at Palmetto State Bank ("PSB"), a person known to the United States

Attorney, serve as the personal representative of the Estate of G.S. Thereafter, at Richard

Alexander Murdaugh's direction, G.S.'s son renounced his duties as personal representative of the

Estate of G.S. to allow the Vice President of PSB to serve as the personal representative.

       13.     On December 4, 2018, Lloyd's settled the claim for $505,000.00. The settlement

check was drafted to the personal representative of the Estate of G.S. and the Beaufort Law Firm.

       14.     On December 19, 2018, after the Lloyd's settlement and as part of the scheme to

defraud, the Vice President at PSB was appointed to serve as the personal representative of the

Estate of G.S. The personal representative endorsed the $505,000 settlement check to the Beaufort

Law Firm, giving CORY HOWERTON FLEMING control over the funds.

       15.     On January 7, 2019, as part of the scheme, the Defendant CORY HOWERTON

FLEMING submitted a fraudulent disbursement sheet to the circuit court outlining the

disbursement of the settlement funds. The fraudulent disbursement sheet outlined $11,500.00 in

"Prosecution Expenses." However, there were no legitimate prosecution expenses.

       16.     On January 7, 2019, at Richard Alexander Murdaugh's direction, CORY

HOWERTON FLEMING issued a check made payable to "Forge" for $403,500.00 of settlement

funds from the Lloyd's settlement.



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        17.     On January 19, 2019, Richard Alexander Murdaugh deposited the check into his

"fake Forge" account.

        18.     In March 2019, following a mediation, Nautilus agreed to settle the Estate of G.S.'s

claim for $3,800,000.00. On April 18, 2019, Nautilus drafted a $3,800,000.00 check to the personal

representative of the Estate of G.S. and the Beaufort Law Firm. The personal representative

endorsed the check to the Beaufort Law Firm, giving CORY HOWERTON FLEMING control of

the funds.

        19.     On May 13, 2019, as part of the scheme, the Defendant CORY HOWERTON

FLEMING submitted a fraudulent disbursement sheet to the circuit court, attaching it to a Petition

for Approval of Settlement. The disbursement sheet did not reflect the accurate distribution of the

settlement funds. The disbursement sheet fraudulently outlined the disbursement of$1,435,000.00

in attorney's fees and $2,765,000.00 to the Estate of G.S. However, CORY HOWERTON

FLEMING collected approximately $672,595.85 in attorney's fees, less than half of the attorney's

fees he reported to the circuit court.

       20.     The May 2013 disbursement sheet further outlined $105,000.00 in "Prosecution

Expenses." However, there were no legitimate prosecution expenses. The Defendant CORY

HOWERTON FLEMING and Richard Alexander Murdaugh intended to use these funds for their

own personal enrichment.

       21.     On May 13, 2019, at Richard Alexander Murdaugh's direction, CORY

HOWERTON FLEMING issued a check made payable to "Forge" for $2,961,931.95 ofsettlement

funds from the Nautilus settlement.

       22.     On May 15, 2019, Richard Alexander Murdaugh deposited the check into his "fake

Forge" account.



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       23.     In October 2020, the parties signed a stipulation of dismissal. On October 6, 2020,

at Richard Alexander Murdaugh's direction, CORY HOWERTON FLEMING issued a check

made payable to "Forge" for $118,000.

       24.     As part of the scheme, the Defendant CORY HOWERTON FLEMING directed the

drafting of checks from his trust account, from funds belonging to the Estate of G.S., to his personal

bank account. The Defendant CORY HOWERTON FLEMING fraudulently claimed that the

disbursements of settlement funds from his trust account were to pay for valid expenses related to

the Estate of G.S.'s claim against Richard Alexander Murdaugh. In three separate transactions,

totaling $26,200.00, the Defendant CORY HOWERTON FLEMING fraudulently transferred

settlement funds belonging to the Estate of G.S. to his personal account, knowing that the funds

belonged to the Estate of G.S. and that there were no legitimate legal expenses.

       25.     As further part of the scheme, and at Richard Alexander Murdaugh's direction, the

Defendant CORY HOWERTON FLEMING fraudulently retained more than $150,000.00 in

"Prosecution Expenses" in his trust account, for the benefit and personal emichment of CORY

HOWERTON FLEMING and Richard Alexander Murdaugh, knowing that the funds belonged to

the Estate of G.S. and that there were no legitimate prosecution expenses.

       26.     At Richard Alexander Murdaugh's direction, CORY HOWERTON FLEMING

issued checks made payable to "Forge" totaling $3,483,431.95. Richard Alexander Murdaugh

deposited the funds into his "fake Forge" account, knowing that the funds belonged to the Estate

of G.S., and thereafter used the funds for his personal emichment. The Estate of G.S. did not

receive any of the settlement funds.




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                                        COUNT 1
                      Conspiracy to Commit Wire Fraud, 18 U.S.C. § 371

         27.    The allegations contained in paragraphs 1 through 26 are incorporated by reference

as ifset forth fully herein.

         28.    From in or around March 2018 through a date unknown to the United States

Attorney, but up to at least October 2020, in the District ofSouth Carolina, the Defendant, CORY

HOWERTON FLEMING, Richard Alexander Murdaugh, and others known and unknown to the

United States Attorney, knowingly and intentionally combined, conspired, confederated, agreed

and had a tacit understanding with others, both known and unknown, and engaged in a scheme,

plan, and artifice to defraud the Estate ofG.S., and to obtain money and property from the Estate

ofG.S. by means ofmaterially false and fraudulent pretenses, representations, and promises, by

making false and misleading statements, and omitting facts necessary to make the statements

truthful and not misleading. During such period, in the course ofexecuting the scheme and artifice

to defraud and to obtain money and property, the Defendant, CORY HOWERTON FLEMING,

Richard Alexander Murdaugh, and others known and unknown to the United States Attorney, did

transmit and cause to be transmitted in interstate commerce, wire communications, including

writings, signs, signals, pictures, and sounds, for the purpose ofexecuting the scheme and artifice

to defraud, in violation of Title 18, United States Code, Section 1343.

                                    Object ofthe Conspiracy

         29.   The object of the conspiracy was for the Defendant, CORY HOWERTON

FLEMING, and his coconspirator Richard Alexander Murdaugh, to obtain money and property by

means of false and fraudulent pretenses, representations, and promises, and to defraud the Estate

ofG.S.




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                            Overt Acts in Furtherance of Conspiracy

      30.      In furtherance of the conspiracy, the Defendant, CORY HOWERTON FLEMING

and his coconspirator Richard Alexander Murdaugh committed the following overt acts in

furtherance of the conspiracy:

            a. On or about January 7, 2019, the Defendant CORY HOWERTON FLEMING

               submitted a fake disbursement sheet to the circuit court, outlining fraudulent

              prosecution expenses.

            b. On or about May 13, 2019, the Defendant CORY HOWERTON FLEMING

              submitted a second fake disbursement sheet to the circuit court, outlining inaccurate

              attorney's fees and fraudulent prosecution expenses.

       All in violation of Title 18, United States Code, Sections 371 and 2.




       ADAIR F. BOROUGHS
       UNITED STATES ATTORNEY

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